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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-ZLW-KLM (SJ)

   GRANITE SOUTHLANDS TOWN CENTER LLC,

            Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC AND
   LAND TITLE GUARANTEE COMPANY,

            Defendants.

                   PLAINTIFF GRANITE SOUTHLANDS TOWN CENTER LLC’S
                  APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
                           PRELIMINARY INJUNCTION HEARING

            COMES NOW Plaintiff Granite Southlands Town Center LLC ("Plaintiff" or "Granite"),

   by and through its undersigned attorneys, and moves for a Temporary Restraining Order against

   Alberta Town Center, LLC ("Defendant" or "Alberta") and a Preliminary Injunction Hearing

   under Federal Rule of Civil Procedure 65. Plaintiff's counsel provided Defendant's counsel with

   a draft copy of this pleading on September 20, 2011, and inquired about whether Defendant

   would agree to the relief sought or otherwise provide assurances that would obviate the need for

   the relief Granite seeks. At 4:53 pm MT, Defendant's counsel indicated by e-mail that Alberta

   will oppose this application.

                                                 I.
                                           INTRODUCTION

            Defendant has no substantial assets or ongoing operations, but Granite learned for the

   first time today that Defendant received substantial payments in early September 2011. Without

   the intervention of this Court, plaintiff Granite most likely never will collect the attorneys’ fees,


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   expenses, and costs it is entitled to recover pursuant to the Final Judgment entered by this Court

   on September 13, 2011 (the “Final Judgment”). According to the Final Judgment, Granite is

   “entitled to recover its reasonable and actual attorneys’ fees, expenses and costs . . . .” Final

   Judgment (Docket #198), at p. 3. Granite filed its Motion for Attorneys' Fees and Expenses on

   September 19, 2011 (Docket # 199) and will file its Bill of Costs shortly.

            Because defendant Alberta does not have assets or generate income sufficient to pay

   Granite’s attorneys’ fees, expenses, and costs, if injunctive relief is not granted, Granite will be

   irreparably injured as a result of Alberta’s inability to pay. Alberta’s last report on its assets

   indicates Alberta has minimal cash and is not capable of paying the attorneys' fees and expenses

   for which Granite is moving. Alberta recently received substantial funds from a settlement with

   Callison Architecture, Inc. (“Callison”) as a result of an arbitration relating to the same property

   at issue in this lawsuit ("Callison Arbitration"). If Alberta is allowed to dissipate the proceeds of

   the Callison settlement before the Court enters judgment for Granite’s attorneys’ fees, then

   Alberta will become judgment-proof and Granite will be unable to recover its attorneys’ fees and

   costs from Alberta. Granite seeks injunctive relief to preserve both the status quo pending the

   outcome of the case and the Court’s power to render a meaningful decision on the merits at the

   conclusion of this litigation.

            A balancing of the equities favors Granite. As this Court has determined that Granite is

   entitled to recover attorneys’ fees from Alberta, Granite has prevailed on the underlying merits.

   In the absence of injunctive relief, Granite will likely be irreparably injured by an inability to

   collect the attorneys’ fees to which Granite is entitled according to this Court’s Final Judgment.

   In comparison, an injunction does not pose any real threat of injury to Alberta.


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            Because the likelihood of success on the merits and the relative threats of injury both

   weigh heavily in favor of Granite, the Court should enjoin Alberta from transferring or otherwise

   negotiating any assets received from Alberta's settlement with Callison. More specifically, the

   Court should grant Granite’s Proposed Temporary Restraining Order to prevent the dissipation of

   any funds Alberta receives in an amount sufficient to satisfy the fees and expenses sought in

   Granite’s pending Motion for Attorneys’ Fees and Expenses (Docket # 199), and issue an Order

   for a Preliminary Injunction Hearing on this matter.

                                             II.
                                      STATEMENT OF FACTS

   A.       ALBERTA HAS VERY LITTLE ASSETS AND NO ACTIVE OPERATIONS

            Peter Cudlip, 32% owner of Alberta as well as a manager for Alberta, was deposed on

   January 7, 2010. Excerpts of the Deposition of Peter Cudlip (“Cudlip Depo.”) are attached

   hereto as Exhibit 1. Mr. Cudlip testified that Alberta had “very little” assets. (Cudlip Depo., Ex.

   1, p. 10, ln. 20-23). Mr. Cudlip further testified that Alberta had “some cash” (Cudlip Depo.,

   Ex. 1, p. 10, ln. 24-25) and that Alberta’s operations consist of existing for the purpose of

   resolving this lawsuit. (Cudlip Depo., Ex. 1, p. 11, ln. 6-14).

            Steven Zezulak, the controller of Alberta, was deposed on March 22, 2010. Excerpts of

   the Deposition of Steven Zezulak (“Zezulak Depo.”) are attached hereto as Exhibit 2. During

   that deposition, Mr. Zezulak was asked whether Alberta had net assets. Mr. Zezulak responded

   “No tangible property assets, no.” (Zezulak Depo., Ex. 2, p. 106, ln. 15-17). Mr. Zezulak was

   then asked if Alberta had cash in the bank. Mr. Zezulak responded, “A little bit, but it’s very

   minimal.” (Zezulak Depo., Ex. 2, p. 106, ln. 18-19). When asked about Alberta’s ability to pay



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   a possible judgment for a million dollars, Mr. Zezulak estimated that Alberta had about

   $100,000. (Zezulak Depo., Ex. 2, p. 106, ln. 20 – p. 107, ln. 14).

   B.       ALBERTA DOES NOT HAVE SUFFICIENT CAPITAL TO SATISFY ITS DEBTS

            Peter Cudlip testified that Alberta had debts generally consisting of legal fees. (Cudlip

   Depo., Ex. 1, p. 11, ln. 1-5). The law firm of Lindquist & Vennum, PLLP filed a Notice of Lien

   in this action for not less than $285,851.66, which is attached hereto as Exhibit 3. The law firm

   of Starrs Mihm LLP also filed a Notice of Charging Lien in this action for $23,441.15, which is

   attached hereto as Exhibit 4.

   C.       ALBERTA RECENTLY RECEIVED INCOME FROM AN ARBITRATION
            SETTLEMENT

            Alberta and Callison reached a settlement by which Callison or its insurer paid Alberta

   what Granite believes to be at least $800,000. See Affidavit of Paul Trahan ("Trahan Aff.") at ¶¶

   3 and 4, at Exhibit 5. Granite believes the amount of the settlement is at least $800,000. Id. at ¶

   5. When Granite moved to stay the Confirmation Action, Alberta filed a response in which

   Alberta argued that Granite should be required to post a bond “far in excess of $1 million.” Id. at

   ¶ 5; see also Alberta’s Response at Exhibit 6. In support of its request, Alberta cited C.R.C.P.

   62(d), which under certain circumstances requires that a bond be posted that is “125% of the

   total amount of the judgment.” Id.

   D.       GRANITE GAVE NOTICE OF THIS APPLICATION FOR INJUNCTIVE
            RELIEF TO ALBERTA’S COUNSEL OF RECORD

            Under Federal Rule of Civil Procedure (“FRCP”) 65(b), the Court may grant a temporary

   restraining order without notice having been provided to the opposing party or its counsel.

   Nonetheless, on September 20, 2011, counsel for Granite provided notice to Alberta, and Alberta


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   indicated it will oppose this application as well as Granite's Motion for Attorneys' Fees. Id. at ¶

   6.

                                              III.
                                     APPLICABLE STANDARDS

            The primary purpose of injunctive relief is “to preserve the status quo pending the

   outcome of the case.” Tri-State Generation & Transmission Ass’n. v. Shoshone River Power,

   Inc., 805 F.2d 351, 355 (10th Cir. 1986) (citing Penn v. San Juan Hosp., Inc., 528 F.2d 1181,

   1185 (10th Cir. 1975)). Courts use preliminary injunctions to try to “preserve the power to

   render a meaningful decision on the merits” of a case. Tri-State, 805 F.2d at 355 (citing

   Compact Van Equipment Co. v. Leggett & Platt, Inc., 566 F.2d 952, 954 (5th Cir. 1978)).

            The Erie doctrine “does not apply to preliminary injunction standards.” Equifax Services,

   Inc. v. Hitz, 905 F.2d 1355, 1361 (10th Cir. 1990). Instead, the federal standard for injunctive

   relief applies. Thus, in a motion for either temporary or preliminary injunctive relief, the four

   prerequisites which the moving party must establish are as follows:

            (1) substantial likelihood that the movant will eventually prevail on the merits; (2)
            a showing that the movant will suffer irreparable injury unless the injunction
            issues; (3) proof that the threatened injury to the movant outweighs whatever
            damage the proposed injunction may cause the opposing party; and (4) a showing
            that the injunction, if issued, would not be adverse to the public interest.
   Lundgrin v. Claytor, 619 F.2d 61, 63 (10th Cir. 1980).

            Injunctive relief is evaluated on “a sliding scale that demands less of a showing of

   likelihood of success on the merits when the balance of hardships weighs strongly in favor of the

   plaintiff, and vice versa.” O Centro Espirita Beneficente Uniao do Vegetal v. Ashcroft, 389 F.3d

   973, 1002 (10th Cir. 2004) (Seymour, Circuit Judge, concurring in part and dissenting in part,

   joined by Tacha, Chief Judge, Porfilio, Henry, Briscoe, and Lucero, Circuit Judges) (citing In re


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   Microsoft Corp. Antitrust Litig., 333 F.3d 517, 526 (4th Cir. 2003). Therefore, the more likely it

   is that a movant will succeed on the merits, “the less the balance of irreparable harms need favor

   the [movant’s] position.” Id. (citing Ty, Inc. v. Jones Group, Inc., 237 F.3d 891, 895 (7th Cir.

   2001)).

                                                  IV.
                                               ARGUMENT

   A.        THERE IS A SUBSTANTIAL LIKELIHOOD GRANITE WILL PREVAIL ON
             THE MERITS

             Granite has prevailed on the underlying merits of this action and is entitled to an award of

   its reasonable attorneys’ fees and expenses from Alberta. See Final Judgment (“Plaintiff is also

   entitled to recover its reasonable and actual attorney's fees, expenses and costs pursuant to

   paragraph 12 of the Escrow Agreement and D.C.COLO.LCivR 54.1."); see also Plaintiff Trial

   Exhibit 20 (Escrow Agreement), ¶12 ("The prevailing party in any dispute arising from this

   Agreement shall be entitled to recover from the non-prevailing party its reasonable and actual

   attorneys' fees and expenses, including any incurred in connection with any appeal.”); Utah

   Women’s Clinic v. Leavitt, 75 F.3d 564, 567 (10th Cir. 1995) (citing Buchanan v. Stanships, Inc.,

   485 U.S. 265, 267-68, (1988) (per curiam)) (attorneys’ fees and costs are collateral to and

   separate from a decision on the merits).

   B.        ALLOWING ALBERTA TO DISSIPATE THE CALLISON SETTLEMENT
             PROCEEDS POSES A RISK OF IRREPARABLE HARM TO GRANITE

             Difficulty in collecting a judgment for damages may support a claim of irreparable injury.

   Tri-State Generation & Transmission Ass’n v. Shoshone River Power, Inc., 805 F.2d 351, 355

   (10th Cir. 1986) (citing Central States, Se. & Sw. Areas Pension Fund v. Admiral Merchants

   Motor Freight, Inc., 511 F. Supp. 38, 43 (D. Minn. 1980)). In Tri-State, the Tenth Circuit found

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   that a trial court erred in failing to enjoin the sale of the defendant’s assets pending resolution of

   a trial on the merits of the plaintiff’s claims. Id. at 360. In part, the court stated that “[i]f Tri-

   State cannot collect a money judgment, then failure to enter the preliminary injunction would

   irreparably harm it.” Tri-State, 805 F.3d at 355. Because the plaintiff was likely to suffer

   irreparable injury if the defendant were permitted to sell its assets—either because the plaintiff

   would be unable to collect damages at the end of the trial or because the plaintiff’s viability as a

   business was threatened by sale of the defendants assets—the Tri-State Court enjoined the

   defendant from selling its assets pending a resolution on the merits. Id. at 355-56.

            Decisions from other Courts of Appeals also support the proposition that a plaintiff

   suffers irreparable injury where a defendant is unable to satisfy a judgment because it becomes

   “insolvent before a final judgment can be entered and collected.” Roland Machinery Co. v.

   Dresser Indus., Inc., 749 F.2d 380, 386 (7th Cir. 1984); Central States, Se. & Sw. Areas Pension

   Fund v. Jack Cole-Dixie Highway Co., 642 F.2d 1122 (8th Cir. 1981) (affirming preliminary

   mandatory injunction granted by the trial court in Central States, Southeast & Southwest Areas

   Pension Fund v. Admiral Merchants Motor Freight, Inc., 511 F. Supp. 38, 43 (D. Minn. 1980),

   which recognized that the difficulty of collecting a money judgment supports a claim of

   irreparable harm).

            Here, Granite will not be able to collect damages if Alberta is allowed to dissipate the

   Callison settlement proceeds.     In this regard, Granite’s claim of irreparable injury is in a

   meaningful way superior to that of Tri-State’s successful claim: Granite has already prevailed on

   the merits of its underlying claim, and now seeks its contractually provided attorneys’ fees. By

   contrast, the merits in Tri-State remained undecided at the time the plaintiff sough injunctive


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   relief, and the court noted that the case involved “unique factual circumstances and history . . .

   mak[ing] the resolution of the final question of law a genuinely debatable issue.” Id. at 359.

   Here there can be no debate that Granite is entitled to some amount of reasonable attorneys’ fees

   and expenses, and Granite has filed its Motion for Attorneys’ Fees and Expenses to determine

   this issue. In the interim—while the precise amount of such fees and expenses is being litigated

   and set by the Court—Granite would suffer irreparable injury if Alberta is not prevented from

   transferring or distributing proceeds it has received as a result of the Callison settlement.

   C.       RISK OF HARM TO GRANITE GREATLY OUTWEIGHS ANY POTENTIAL
            HARM TO ALBERTA

            If Granite’s proposed injunctive relief is granted, Alberta will not suffer any real harm.

   As Alberta’s manager Peter Cudlip testified, Alberta’s operations currently consist of existing for

   the purpose of resolving this lawsuit. (Cudlip Depo., Ex. 1, p. 11, ln. 6-14). Thus, Alberta

   cannot claim that the issuance of an injunction would affect its operations or business. In the

   unlikely event that Granite receives no award of attorneys’ fees whatsoever, then the injunction

   bond that Granite is required to post would fully compensate Alberta for any costs or damages

   incurred as a result of any inability to dispose of certain funds during the period of an alleged

   wrongful enjoinment or restraint. See FRCP 65(c).

            Because Granite only is seeking to enjoin Alberta’s use of funds sufficient to cover its

   claim for attorneys’ fees, expenses, and costs, for a limited amount of time, a $10,000 injunction

   bond will serve as sufficient protection of Alberta’s interests. The total amount of attorneys'

   fees, expenses, and costs Granite seeks is approximately $700,000. See Granite's Motion for

   Attorneys' Fees and Expenses (Docket # 199). With daily interest on $700,000 accruing at 5%

   being $95.89 per day, a $10,000 bond would protect Alberta against lost interest for almost 15

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   weeks. Granite anticipates any issues relating to its attorneys' fees, expenses, and costs will be

   resolved within that time period.

   D.       ISSUING THE INJUNCTION IS NOT ADVERSE TO THE PUBLIC INTEREST

            According to Alberta's executives, Alberta does not have sufficient funds to satisfy

   Granite’s expected attorneys’ fees and does not have active operations to generate income.

   (Cudlip Depo, p. 11, ln. 6-14). Alberta’s only apparent source of material funds is the money

   Alberta received as part of the Callison settlement. Id. The proposed injunctive relief will

   preserve the status quo between private parties and would not be adverse to any public interest.

                                                V.
                                        PRAYER FOR RELIEF

            For these reasons, Granite respectfully requests the Court to:

            1.     Issue a Temporary Restraining Order ENJOINING Alberta, its affiliates, agents,
                   officers, servants, employees, representatives, attorneys, and any other individual
                   or entity in active concert or participation with Alberta from transferring or
                   otherwise negotiating at least $700,000 of the funds received in connection with
                   settlement of Defendant’s arbitration against Callison Architecture, Inc.
                   (“Callison Settlement Funds”);

            2.     Issue a Temporary Restraining Order ORDERING Alberta, its affiliates, agents,
                   officers, servants, employees, representatives, attorneys, and any other party in
                   active concert or participation with Alberta to hold all or any portion of the
                   Callison Settlement Funds in their possession, custody, or control, sufficient to
                   total at least $700,000, until further order of this Court; and

            3.     Set a Preliminary Injunction Hearing on this matter, at which Granite will request
                   relief consistent with that requested herein along with a request that such relief
                   remain in place until such time as issues relating to Granite's Motion for
                   Attorneys' Fees and Expenses and Bill of Costs have been finally decided.




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   DATED: September 20, 2011.

                                          Respectfully submitted,

                                             /s/ Paul Trahan
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                                          COUNSEL FOR PLAINTIFF




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                                   CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on September 20, 2011, a true and correct copy of

   the foregoing was served upon all counsel of record via U. S. first class mail and via email as

   follows:

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                                                        /s/ Paul Trahan




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                                      201-1        filed
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                        -KLM Document     215-26
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      1:09-cv-00799-SJJ        Document
                        -KLM Document     215-26
                                      201-2        filed
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                        -KLM Document     215-26
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      1:09-cv-00799-SJJ        Document
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                        -KLM Document     215-26
                                      201-4        filed
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                        -KLM Document     215-26
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                        -KLM Document     215-26
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                        -KLM Document     215-26
                                      201-6        filed
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Case
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                                                                                                 Appendix I

                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-ZLW-KLM   (SJ)
                    ___________________________

   Granite Southlands Town Center LLC
   _________________________________________,

           Plaintiff,

   v.
   Alberta Town Center LLC & Land Title Guarantee Co.
   _________________________________________,

           Defendant.


                   INFORMATION FOR TEMPORARY RESTRAINING ORDER
   __________________________________________________________

                           PAUL TRAHAN
   Attorney for Plaintiff ______________________________________________________________
   FULBRIGHT & JAWORSKI L.L.P.                                                     (512) 474-5201
   __________________________________________ Telephone number ______________________
                             Stuart N. Bennett
   Attorney for Defendant _____________________________________________________________
   Jones & Keller, P.C                                                                (303) 573-1600
   ___________________________________________ Telephone number ______________________
                                            Granite seeks enjoin Alberta and its affiliates from transferring or
   Concise statement as to type of claim __________________________________________________
   negotiating money recently received settlement, which is its only material funds, to preserve Granite's
   ________________________________________________________________________________
   ability to collect its pending motion for attorney’s fees and costs.
   _________________________________________________________________________________
                              28 U.S.C. § 1332 (Diversity of citizenship)
   Jurisdiction (cite statute) ____________________________________________________________

   Hearing: See D.C.COLO.LCivR.7.1A
                                                                    September, 20, 2011
           Date Motion for Temporary Restraining Order filed _________________________________
                                          1-2 Hours
           Estimated length of hearing ____________________________________________________
Case
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             Request hearing be set for _______ today _______ tomorrow _______ within one week
                                                             Without injunctive relief, Granite will likely be
             Reason why immediate action is required ______________________________________
             unable to collect the attorney's fees and costs it is entitled to collect from Alberta
             ___________________________________________________________________________

   Notice:

             Has opposing party and/or attorney been notified? _______Yes _______ No
                                   September, 20, 2011                                      Email
             If “yes,”state when _______________________ and by what means _________________

             If “no,” state reason __________________________________________________________

   (Rev. 11/04)
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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-SJJ-KLM

   GRANITE SOUTHLANDS TOWN CENTER LLC,

            Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC and
   LAND TITLE GUARANTEE COMPANY,

            Defendants.

                               TEMPORARY RESTRAINING ORDER
                                AGAINST DEFENDANT ALBERTA

            ON THIS DAY came on to be heard Granite Southlands Town Center LLC (“Plaintiff”)

   request for a temporary restraining order as set forth in Plaintiff’s Application for Temporary

   Restraining Order and Preliminary Injunction Hearing (“Application”).           The Court, having

   examined the Application, finds that said Application shows Plaintiff to be entitled to a

   Temporary Restraining Order, pending the hearing on the request for Preliminary Injunction. It

   clearly appears from the facts set forth in the Application that Defendant Alberta Town Center,

   LLC (“Defendant”) will transfer or otherwise negotiate funds from Defendant’s settlement of an

   arbitration against Callison Architecture, Inc. absent this Court’s order and, therefore, be unable

   to satisfy Defendant’s anticipated debt to Plaintiff.

            The Court further finds that such activity will cause substantial harm to Plaintiff and that

   Defendant should be enjoined from such activity.

            The Court further finds that Plaintiffs have shown a probable right of success on the

   merits and probable injury if this Temporary Restraining Order is not granted. For the foregoing

   reasons, IT IS THEREFORE ORDERED that a Temporary Restraining Order be, and the same is



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   hereby GRANTED and issued and Defendant, its agents, officers, servants, employees,

   representatives, attorneys, and any other individual or entity in active concert or participation

   with Defendant ("Alberta Parties"), are hereby ordered as follows:

                •   Alberta Parties are hereby enjoined from transferring or otherwise negotiating at

                    least $700,000 of the funds received in connection with settlement of Defendant’s

                    arbitration against Callison Architecture, Inc. (“Callison Settlement Funds”);

                •   Alberta Parties are hereby ordered to hold all or any portion of the Callison

                    Settlement Funds in their possession, custody, or control, sufficient to total at

                    least $700,000, until further order of this Court.

            IT IS FURTHER ORDERED that this Temporary Restraining Order be effective upon

   the filing of a Bond or Cash in Lieu of the Bond in the amount of $10,000 payable to Defendant

   as required by law. The Temporary Restraining Order shall continue in effect until the hearing

   set below is completed and/or an order entered.

            IT IS FURTHER ORDERED that upon the filing of such Bond or Cash in Lieu of Bond

   by Plaintiff, the Clerk of this Court shall issue citation and notice to Defendant of the Temporary

   Restraining Order and a Preliminary Injunction Hearing, said hearing being set by the Court for

   the ____ day of _____________________, 2012, at __________ __.m.

            SIGNED this ____ day of September, 2011, at _________________ __.m.



                                           ____________________________________
                                           DISTRICT JUDGE PRESIDING




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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-SJJ-KLM

   GRANITE SOUTHLANDS TOWN CENTER LLC,

            Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC and
   LAND TITLE GUARANTEE COMPANY,

            Defendants.

                               TEMPORARY RESTRAINING ORDER
                                AGAINST DEFENDANT ALBERTA

            ON THIS DAY came on to be heard Granite Southlands Town Center LLC (“Plaintiff”)

   request for a temporary restraining order as set forth in Plaintiff’s Application for Temporary

   Restraining Order and Preliminary Injunction Hearing (“Application”).           The Court, having

   examined the Application, finds that said Application shows Plaintiff to be entitled to a

   Temporary Restraining Order, pending the hearing on the request for Preliminary Injunction. It

   clearly appears from the facts set forth in the Application that Defendant Alberta Town Center,

   LLC (“Defendant”) will transfer or otherwise negotiate funds from Defendant’s settlement of an

   arbitration against Callison Architecture, Inc. absent this Court’s order and, therefore, be unable

   to satisfy Defendant’s anticipated debt to Plaintiff.

            The Court further finds that such activity will cause substantial harm to Plaintiff and that

   Defendant should be enjoined from such activity.

            The Court further finds that Plaintiffs have shown a probable right of success on the

   merits and probable injury if this Temporary Restraining Order is not granted. For the foregoing

   reasons, IT IS THEREFORE ORDERED that a Temporary Restraining Order be, and the same is



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   hereby GRANTED and issued and Defendant, its agents, officers, servants, employees,

   representatives, attorneys, and any other individual or entity in active concert or participation

   with Defendant ("Alberta Parties"), are hereby ordered as follows:

                •   Alberta Parties are hereby enjoined from transferring or otherwise negotiating at

                    least $700,000 of the funds received in connection with settlement of Defendant’s

                    arbitration against Callison Architecture, Inc. (“Callison Settlement Funds”);

                •   Alberta Parties are hereby ordered to hold all or any portion of the Callison

                    Settlement Funds in their possession, custody, or control, sufficient to total at

                    least $700,000, until further order of this Court.

            IT IS FURTHER ORDERED that this Temporary Restraining Order be effective upon

   the filing of a Bond or Cash in Lieu of the Bond in the amount of $10,000 payable to Defendant

   as required by law. The Temporary Restraining Order shall continue in effect until the hearing

   set below is completed and/or an order entered.

            IT IS FURTHER ORDERED that upon the filing of such Bond or Cash in Lieu of Bond

   by Plaintiff, the Clerk of this Court shall issue citation and notice to Defendant of the Temporary

   Restraining Order and a Preliminary Injunction Hearing, said hearing being set by the Court for

   the 28 day of September, 2011, at 1:00pm EST.

            SIGNED this 22 day of September, 2011, at 11:00 a.m.



                                           ______________/s/______________________
                                            United States District Judge Sterling Johnson Jr.




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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-SJJ-KLM

   GRANITE SOUTHLANDS TOWN CENTER LLC,

             Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC AND
   LAND TITLE GUARANTEE COMPANY,

             Defendants.

                PLAINTIFF'S EMERGENCY MOTION FOR EXPEDITED DISCOVERY
                          FOR PRELIMINARY INJUNCTION HEARING

             Granite Southlands Town Center LLC (“Plaintiff” or "Granite") submits this Emergency

   Motion for Expedited Discovery for Preliminary Injunction Hearing, by which Plaintiff seeks

   very limited discovery from Defendant Alberta Town Center, LLC (“Defendant” or “Alberta”).

   Plaintiff requested Defendant's agreement to provide this discovery, but Defendant refused.1

                                       SUMMARY OF MOTION

             Plaintiff seeks very limited discovery (one deposition on 5 topics and 4 document

   requests) from Defendant to prepare for the scheduled Preliminary Injunction. Plaintiff needs

   this essential information to prepare for the hearing and protect itself against a “trial by ambush.”

             The Court issued a Temporary Restraining Order and has set a Preliminary Injunction

   Hearing for September 28, 2011 (Docket #203).2 Plaintiff requested the injunctive relief out of

   concern that Defendant has very limited assets and, but for funds recently received as the result


   1
    A copy of Plaintiff's correspondence requesting the discovery is attached hereto as Exhibit A.
   Defendant's counsel responded to Plaintiff's counsel by e-mail on September 23, 2011, indicating
   Defendant will oppose the requested discovery.
   2
        It appears the hearing will be moved to September 29, 2011.


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   of a settlement, does not appear to be in a position to pay Plaintiff the attorneys' fees awarded by

   this Court in its Final Judgment (Docket #198). The Temporary Restraining Order enjoins

   Defendant, which is not an operating company, and related individuals and entities from

   dissipating, or further dissipating, $700,000 of the funds received in the settlement, which

   approximates the amount Plaintiff is requesting for its attorneys’ fees, expenses, and costs.

            Defendant has refused to provide Plaintiff with very limited discovery on issues relating

   directly to Plaintiff's request for a Preliminary Injunction. Without this discovery, Plaintiff will

   not have an opportunity to inquire into these essential topics until the Preliminary Injunction

   hearing. The Federal Rules of Civil Procedure go to great lengths to prevent this sort of “trial by

   ambush.” See Fed. R. Civ. P. 26.

            Specifically, Plaintiff requests testimony on the following five (5) topics:

            •   Alberta’s current financial condition, including a description of its assets, liabilities,
                and operations;

            •   Details concerning the settlement payments from Callison, including when, where,
                and how the money was received;

            •   Communications between Alberta and Callison relating to the settlement payments;

            •   Whether, and to whom, the Callison settlement proceeds have been paid or otherwise
                disbursed; and

            •   Where the Callison settlement proceeds currently are located, including who or what
                entity has the money along with the name of the bank or other financial institution
                and account numbers.

            Plaintiff also requests that Defendant be required to produce documents responsive to the

   following four (4) requests, at or prior to the deposition:

            •   Alberta’s financial statements for the past six months, including detailed statements
                of accounts receivable, accounts payable, and other outstanding obligations;

            •   Bank records and statements reflecting money received in relation to Alberta’s
                settlement with Callison and any disbursements or payments made by Alberta in the
                last sixty days;


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            •   Documents memorializing any payment obligations that Alberta has had during the
                past six months; and

            •   Communications between Alberta and Callison relating to the settlement payment.

            The requested information is essential to Granite’s pending application for injunctive

   relief and necessary for the Court to decide this matter.

                                            BACKGROUND

            In February 2011, this Court presided over a trial between Granite and Alberta on claims

   arising from an Escrow Agreement between the parties. Granite prevailed on these claims at trial

   and, as a result, Granite is entitled to recover from Alberta the reasonable attorneys’ fees and

   expenses it incurred in the course of litigating the claims. This Court issued a Final Judgment on

   September 13, 2011, confirming that Granite is entitled to its “reasonable and actual attorney’s

   fees, expenses and costs pursuant to paragraph 12 of the Escrow Agreement and

   D.C.COLO.LCivR 54.1.” Final Judgment (Docket #198). Accordingly, Granite filed a Motion

   for Attorneys’ Fees and Expenses, currently pending, in which it seeks to recover approximately

   $685,000 of fees and expenses incurred in this litigation. (Docket # 199). Granite will submit a

   Bill of Costs for an additional approximately $11,000.

            An order granting Granite’s request for its reasonable attorneys’ fees and expenses would

   be valueless if Alberta has no assets or funds from which to satisfy a judgment. As of January

   2010, Alberta had no substantial assets or ongoing operations, existing solely “for the purpose of

   resolving this lawsuit.” See Deposition of Peter Cudlip at 11:6-14, attached hereto as Exhibit B.

   As of March 2010, Alberta had no “tangible property assets,” and “minimal” cash in the bank.

   See Deposition of Steven Zezulak at 106:15-19, attached hereto as Exhibit C .            Without

   operations or assets, Alberta’s only potential sources of income would appear to be outside




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   infusions of capital. Granite is entitled to more recent information prior to the Preliminary

   Injunction hearing.

            Granite recently learned that Alberta received a substantial settlement payment from

   Callison Architecture, Inc. (“Callison”) in early September 2011, as the result of settling an

   arbitration proceeding.     Granite filed an Application for Temporary Restraining Order and

   Preliminary Injunction Hearing asking the Court to maintain the status quo by preventing Alberta

   from distributing or otherwise dissipating $700,000 of the funds Alberta received from Callison

   until Granite’s Motion for Attorneys’ Fees and Expenses is decided. The Court granted Granite's

   request for a Temporary Restraining Order (Docket #203). The discovery requested in this

   motion is necessary for Granite to prepare for the Preliminary Injunction hearing.

                                   ARGUMENT AND AUTHORITY

            This Court may allow expedited discovery upon a good showing of “good cause” to

   justify the order. See Pod-Ners, LLC v. N. Feed & Bean, 204 F.R.D. 675, 676 (D. Colo. 2002).

   Many courts have found that expedited discovery is often particularly appropriate when a party is

   seeking a preliminary injunction. Pod-Ners, 204 F.R.D. at 676 (“[E]xpedited discovery is

   appropriate ‘in some cases, such as those involving requests for a preliminary injunction or

   motions challenging personal jurisdiction.”); Am. Legalnet, Inc. v. Davis, 673 F. Supp. 2d 1063,

   1066 (C.D. Cal. 2009) (“The good cause standing may be satisfied where a party seeks a

   preliminary injunction.” (quotation marks omitted)). Expedited discovery mirrors the “expedited

   nature of injunctive proceedings.” Ellsworth Assocs., Inc. v. United States, 917 F. Supp. 841,

   844 (D.D.C. 1996).        That said, “[e]xpedited discovery should be limited . . . and narrowly

   tailored to seek information necessary to support expedited or preliminary relief.” Avaya, Inc. v.

   Acumen Telecom Corp., No. 10-cv-03075-CMA-BNB, 2011 WL 9293 at *2 (D.Colo. Jan. 3,

   2011).


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            Good cause is present here. The discovery Granite is requesting bears directly on the

   issues underlying the injunctive relief that Granite seeks. Granite’s requests also are narrowly

   tailored to that information necessary to support its request for injunctive relief. Granting this

   Motion will not impose a substantial burden on or unduly prejudice Alberta. The deposition

   would occur at the office of Alberta’s counsel, and would be unlikely to last more than half-a-

   day. The documents sought consist of records regularly maintained in the course of business,

   and are clearly relevant and subject to production in this proceeding. Any prejudice Alberta may

   suffer from responding to this discovery earlier than otherwise required is outweighed by the

   irreparable harm which Granite would suffer if it is unable to obtain the requested information in

   time to prepare for the preliminary injunction hearing.

                                            CONCLUSION

            For the reasons set forth above, Granite requests that the Court compel Defendant Alberta

   to provide the testimony and documents requested herein at least one full day before the

   preliminary injunction hearing.

   DATED: September 23, 2011




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                                            Respectfully submitted,

                                            /s/ Paul Trahan
                                            OSBORNE J. DYKES, III
                                            BENJAMIN M. VETTER
                                            LUCY ARNOLD
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                                            COUNSEL FOR PLAINTIFF




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on the 23rd day of September, 2011, I electronically filed the

   foregoing with the Clerk of Court using the CM/ECF system which will send notification of such

   filing to attorneys for plaintiffs at the following e-mail addresses:

                  Stephen L. Waters                  swaters@rwolaw.com
                  Kimberly A. Bruetsch               kbruetsch@rwolaw.com
                  ROBINSON WATERS & O’DORISIO, P.C.
                  1099 18th Street, Suite 2600
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                  Stuart N. Bennett                               sbennett@joneskeller.com
                  JONES & KELLER, P.C.
                  1999 Broadway, Suite 3150
                  Denver, CO 80202
                  Attorneys for Alberta Town Center, LLC


                                                          /s/ Paul Trahan




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   Wright, Julie

   From:                                Stuart N. Bennett [sbennett@joneskeller.com]
   Sent:                                Friday, September 23, 2011 12:06 PM
   To:                                  Trahan, Paul
   Subject:                             Granite v. Alberta


       Paul,

       I received your letter dated today by fax this morning. Alberta declines to provide discovery to
   Granite that would be the type of discovery available in a post-judgment collection action. If Granite
   ultimately obtains a judgment for some amount of fees, you may pursue whatever collection action is
   appropriate. Until then, Alberta will oppose Granite’s discovery and its preliminary injunction.

       Best regards, Stu




      Stuart N. Bennett
      Attorney at Law
      1999 Broadway, Suite 3150
      Denver, Colorado 80202
      P: 303.573.1600 | D: 303.785.1616 | F: 303.573.8133
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      sbennett@joneskeller.com
      www.joneskeller.com




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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-SJJ-KLM

   GRANITE SOUTHLANDS TOWN CENTER LLC,

            Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC and
   LAND TITLE GUARANTEE COMPANY,

            Defendants.

        ORDER GRANTING PLAINTIFF'S EMERGENCY MOTION FOR EXPEDITED
              DISCOVERY FOR PRELIMINARY INJUNCTION HEARING

            After considering Plaintiff Granite Southlands Town Center LLC's Motion for Expedited

   Discovery for Preliminary Injunction Hearing, the Court finds it should be granted in all respects.

            Alberta Town Center, LLC, therefore, is ORDERED, at least one full day before the

   Preliminary Injunction hearing in the captioned lawsuit, to produce a corporate representative

   prepared to testify about the following topics:

            •   Alberta’s current financial condition, including a description of its assets, liabilities,
                and operations;

            •   Details concerning the settlement payments from Callison, including when, where,
                and how the money was received;

            •   Communications between Alberta and Callison relating to the settlement payments;

            •   Whether, and to whom, the Callison settlement proceeds have been paid or otherwise
                disbursed; and

            •   Where the Callison settlement proceeds currently are located, including who or what
                entity has the money along with the name of the bank or other financial institution
                and account numbers.

            Alberta Town Center, LLC is FURTHER ORDERED to produce, at least one full day

   before the Preliminary Injunction hearing in the captioned lawsuit, the following documents:


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            •   Alberta's financial statements for the past six months, including detailed statements of
                accounts receivable, accounts payable, and other outstanding obligations;

            •   Bank records and statements reflecting money received in relation to Alberta's
                settlement with Callison and any disbursements or payments made by Alberta in the
                last sixty days;

            •   Documents memorializing any payment obligations that Alberta has had during the
                past six months; and

            •   Communications between Alberta and Callison relating to the settlement payment.

            SIGNED ___________________________



                                          ____________________________________
                                          DISTRICT JUDGE PRESIDING




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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-SJJ-KLM

   GRANITE SOUTHLANDS TOWN CENTER LLC,

            Plaintiff,
                                                    THIS ORDER MODIFIES AND REPLACES
                                                  THE COURT’S PREVIOUS ORDER ECF # 203

   v.

   ALBERTA TOWN CENTER, LLC and
   LAND TITLE GUARANTEE COMPANY,

            Defendants.

                               TEMPORARY RESTRAINING ORDER
                                AGAINST DEFENDANT ALBERTA

            ON THIS DAY came on to be heard Granite Southlands Town Center LLC (“Plaintiff”)

   request for a temporary restraining order as set forth in Plaintiff’s Application for Temporary

   Restraining Order and Preliminary Injunction Hearing (“Application”).           The Court, having

   examined the Application, finds that said Application shows Plaintiff to be entitled to a

   Temporary Restraining Order, pending the hearing on the request for Preliminary Injunction. It

   clearly appears from the facts set forth in the Application that Defendant Alberta Town Center,

   LLC (“Defendant”) will transfer or otherwise negotiate funds from Defendant’s settlement of an

   arbitration against Callison Architecture, Inc. absent this Court’s order and, therefore, be unable

   to satisfy Defendant’s anticipated debt to Plaintiff.

            The Court further finds that such activity will cause substantial harm to Plaintiff and that

   Defendant should be enjoined from such activity.

            The Court further finds that Plaintiffs have shown a probable right of success on the

   merits and probable injury if this Temporary Restraining Order is not granted. For the foregoing



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   reasons, IT IS THEREFORE ORDERED that a Temporary Restraining Order be, and the same is

   hereby GRANTED and issued and Defendant, its agents, officers, servants, employees,

   representatives, attorneys, and any other individual or entity in active concert or participation

   with Defendant ("Alberta Parties"), are hereby ordered as follows:

                •   Alberta Parties are hereby enjoined from transferring or otherwise negotiating at

                    least $700,000 of the funds received in connection with settlement of Defendant’s

                    arbitration against Callison Architecture, Inc. (“Callison Settlement Funds”);

                •   Alberta Parties are hereby ordered to hold all or any portion of the Callison

                    Settlement Funds in their possession, custody, or control, sufficient to total at

                    least $700,000, until further order of this Court.

            IT IS FURTHER ORDERED that this Temporary Restraining Order be effective upon

   the filing of a Bond or Cash in Lieu of the Bond in the amount of $10,000 payable to the Clerk of

   the Court as required by law. The Temporary Restraining Order shall continue in effect until the

   hearing set below is completed and/or an order entered.

            IT IS FURTHER ORDERED that upon the filing of such Bond or Cash in Lieu of Bond

   by Plaintiff, the Clerk of this Court shall issue citation and notice to Defendant of the Temporary

   Restraining Order and a Preliminary Injunction Hearing, said hearing being set by the Court for

   the 29 day of September, 2012, at 3pm EST.

            SIGNED this 23 day of September, 2011, at 6:30pm EST.



                                           _____________________/s/___________________
                                             United States District Judge Sterling Johnson Jr.




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                           UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF COLORADO


   Civil Action No. 09-CV-00799-ZLW-KLM

   GRANITE SOUTHLANDS TOWN CENTER, LLC,

          Plaintiff,

   V.


   ALBERTA TOWN CENTER, LLC and
   LAND TITLE GUARANTEE COMPANY,

          Defendants.


                       DEFENDANT LAND TITLE GUARANTEE COMPANY’S
                          MOTION FOR ATTORNEYS FEES AND COSTS


          Defendant, Land Title Guarantee Company, hereby submits this Motion for Attorneys

   Fees and Costs and, in support thereot state as follows:

   Background and Basis for Fee Request

          1.      On or about April 8, 2009, Granite Southlands Town Center, LLC initiated this

   action seeking declaratory judgment regarding a Forward Purchase and Sale Agreement and

   accompanying Escrow Agreement between Granite Southlands Town Center, LLC as buyer and

   Alberta Town Center, LLC as seller (the “Contracts”) of certain real property commonly known

   as the Southlands Town Center, Aurora, Colorado (the “Property”) and disposition of earnest

   money associated with the contract.

          2.       Land Title Guarantee Company received from Granite Southlands Town Center,

   LLC earnest money in the amount of $650,000 (the “Funds”) to be held in escrow until closing.
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          3.      Land Title Guarantee Company was joined in this action solely because it held the

   Funds as the escrow agent.

          4.      Pursuant to paragraph 5 of the Escrow Agreement, Land Title is entitled to

   recover its attorneys fees and costs incurred in this matter. Paragraph 5 states in relevant part:

                  In the event Escrow Agent is made a party to litigation with respect
                  to the Cash Funds held hereunder, or brings an action in
                  interpleader or if Escrow Agent is required to render any service
                  not provided for in this Agreement, Escrow Agent shall be entitled
                  to reasonable compensation for such extraordinary services and
                  reimbursement for all actual and reasonable fees, costs, liability
                  and expenses, including reasonable attorneys’ fees. Liability for
                  such extraordinary services and reimbursement for all fees, costs,
                  liability and expenses, including reasonable and actual attorneys’
                  fees shall be paid by the party requesting such services or causing
                  such services to be incurred.

   A copy of the Escrow Agreement is attached hereto as Exhibit A.

           5.     Due to the inclusion of Land Title as a Defendant in this matter, Land Title was

   required to retain counsel and participate in the litigation. As a result, Land Title seeks an order

   requiring that $16,144.10 be paid to Land Title from the Escrow Funds. This Court

   acknowledged Land Titles claim to attorneys fees in its Memorandum and Order and stated that

   Land Title may file its own motion for fees and costs.

   Request for Attorneys Fees

           6.      To determine a reasonable attorneys’ fee, courts arrive at a “lodestar” figure by

   multiplying the hours counsel reasonably expends on litigation by a reasonable hourly rate.

   Dubrav v. Jntertribal Bison Coop, 192 P.3d 604, 608 (Colo.App. 2008). Once calculated, a

   “claimant is entitled to the presumption that this lodestar amount reflects a ‘reasonable’ fee.’

   Degrado v. Jefferson Pilot Financial Ins. Co., No. 02-cv-01533-WYD-BNB, 2009 WL 1973501




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   at *6 (D.Colo., July 6, 2009)(quoting Robinson v. City of Edmond, 160 F.3d 1275, 1283 (10th

   dr. 1998).

          7.      All of the fees and costs sought by Land Title have been billed to the client and

   have been paid or will be paid in due course. See Affidavit of Kimberly A. Bruetsch attached

   hereto as Exhibit B.

          8.       In support of its claim for attorneys fees and costs, affidavits and billing records

   are submitted contemporaneously with this Motion. The billing records are attached hereto as

   Exhibit C and biographies of the attorneys involved in this matter are submitted as Exhibit D.

           9.      The legal services provided to Land Title were reasonable and necessary. The

   services provided generally involved investigating the claims, reviewing the pleadings and

   preparing responses to the same, attending and participating in the scheduling conference and

   communications with counsel to attempt to limit Land Titles involvement in this matter. See

   Exhibit B.

           10.     Land Title made significant efforts to limit its attorneys fees and costs incurred in

   this matter. Land Title proposed early on that the parties stipulate to interplead or escrow the

   funds and dismiss Land Title. Unfortunately, counsel for Granite and Alberta were unable to

   reach an agreement regarding dismissal of Land Title until December 2010. Nevertheless, Land

   Title’s counsel limited its participation including seeking orders not requiring its presence at

   settlement conferences, limiting review of pleadings and documents and making continued

   efforts to stipulate to a resolution that would not require Land Title to participate in the trial.

           11.     Stephen L. Waters is the senior attorney responsible for this matter. Mr. Waters

   assigned primary responsibility for this matter to Kimberly Bruetsch in order to staff the case in

   an economical matter. Kristi Kellow is the paralegal assigned to this matter. Mr. Waters had




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   primary involvement for preparing for and attending the pretrial conference because Ms.

   Bruetsch was out of town during that time.

              12.    The hourly rates charged by Robinson Waters & O’Dorisio, P.C. are comparable

   to services by attomeys with similar skill and experience in Denver, Colorado.

              13.    Land Title’s costs are limited to copy charges, postage and the LawTool Box

   docketing fee. These costs were billed to Land Title and are to be reimbursed pursuant to

   paragraph 5 of the Escrow Agreement.

              14.    To the extent thrther proceedings are required regarding Land Title’s request for

   reimbursement of its attorneys fees and costs, Land Title reserves the right to supplement its fee

   request.

              WHEREFORE, Land Title respectfhlly requests that this Court award it legal fees and

   expenses in the amount of $16,144.10 to be paid from the funds previously held in escrow and

   any and other further relief to which this Court deems just and proper.

          DATED this 27th day of September 2011.

                                           Respectfully submitted,



                                           s/Kimberly A. Bruetsch
                                           Stephen L. Waters
                                           Kimberly A. Bruetsch
                                           ROBINSON WATERS & O’DORISIO, P.C.
                                           1099 1 8
                                                  th
                                                     Street, Suite 2600
                                           Denver, Colorado 80202
                                           (303) 297-2600
                                           Counselfor Land Title Guarantee Company




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                                   CERTIFICATE OF SERVICE

          I hereby certi& that on this 27th day of September 2011, a true and correct copy of the
   foregoing MOTION FOR ATTORNEYS FEES was served via CM/ECF on the following:

          Osborne J. Dykes, III, Esq.
          Benjamin M. Vetter, Esq.
          Fulbright & Jaworski LLP
          370 Seventeenth Street, Suite 2150
          Denver, Colorado 80202
          jdvkesrftlbright.com
          bvetter(du1bright.com

          Paul Trahan, Esq.
          Fulbright & Jaworski LLP
          600 Congress Avenue, Suite 2400
          Austin, Texas 78701
          ptthanWfuIbright.com

          Stuart N. Bennett, Esq.
          Lindquist & Vennurn, P.L.L.P.
          600 17
              th
                   Street, Suite 1800-South
          Denver, Colorado 80202
          sbennettlindquist.com



                                                       s/Kristi Kellow




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                                        ESCROW AGREEMENT
             THIS ESCROW AGREEMENT (this “Agreement”) is made and entered into as of this
    /2.  day  of December, 2008, by and among ALBERTA TOWN CENTER, LLC, a Colorado
     limited liability company (“Alberta”), GRANITE SOUTHLANDS TOWN CENTER LLC, a
     Delaware limited liability company (“Granite”), and LAND TITLE GUARANTEE
     COMPANY, as escrow agent (“Escrow Agent”).

                                               RECITALS

             A.      Alberta and Granite (as successor-in interest to Metropolitan Life Insurance
      Company, a New York corporation), are parties to that certain Forward Purchase and Sale
     Agreement and Escrow Instructions dated as of September 29, 2005, as amended by that certain
     Amendment and Agreement dated as of April 30, 2007, and that certain First Amendment to
     Amendment and Agreement effective as of June 1, 2007, and that certain Second Amendment to
     Amendment and Agreement effective as of June 29, 2007, and that certain Third Amendment to
     Amendment and Agreement ef’fctive as of July 24, 2007, and that certain Fourth Amendment to
     Amendment and Agreement and Termination Agreement effective as of August 31, 2007, and
     that certain Fifth Amendment to Amendment and Agreement and Termination Agreement
     effective as of December 13, 2007, and that certain Sixth Amendment to Amendment and
     Agreement and Termination Agreement effective as of February 15, 2008, and that certain
     Seventh Amendment to Amendment and Agreement and Termination Agreement effective as of
     February 22, 2008, and that certain Eighth Amendment to Amendment and Agreement and
     Termination Agreement effective as of February 28, 2008, and that certain Ninth Amendment to
     Amendment and Agreement and Termination Agreement effective as of March 14, 2008, and
     that certain Tenth Amendment to Amendment and Agreement and Termination Agreement
     effective as of March 27, 2008, that certain Eleventh Amendment to Amendment and Agreement
     and Termination Agreement effective as of April 9, 2008, that certain Twelfth Amendment to
     Amendment and Agreement and Termination Agreement effective as of April 25, 2008, and that
     certain Thirteenth Amendment to Amendment and Agreement and Termination Agreement dated
     effective as of May 9, 2008 and that certain Thirteenth Amendment to Amendmern and
     Agreement and Termination Agreement effective as of May 8, 2008, that certain Fourteenth
     Amendment to Amendment and Agreement and Termination Agreement effective as of May 14,
     2008, and that certain Fifteenth Amendment to Amendment and Agreement and Termination
     Agreement effective as of December 8, 2008 (as amended and assigned, the “Purchase
     Agreement”).

           B,      The Purchase Agreement requires Escrow Holder to retain $650,000.00 (the
     “Escrow”) of the Excess Funds at the Closing in an escrow account established at Closing (the
     “Escrow Account”).

            C.     Alberta and Granite desire to enter into this Agreement to provide for the
     procedures governing the application and/or disbursement of amounts in the Escrow.

            D.       Escrow Agent is willing to act as escrow holder with respect to the Escrow upon
     and subject to the terms and conditions of this Agreement.




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              B.     Capitalized terms used and not otherwise defined herein shall have the meanings
      given to such terms in the Purchase Agreement.



                                               AGREEMENT

              NOW, THEREFORE, in consideration of the mutual covenants and promises contained
      herein, and for other good and valuable consideration, the receipt and adequacy of which are
      hereby acknowledged, the parties hereto agree as follows:

             1,      Establishment of Escrow and Administration of Cash Funds.

                        .1    Deposit of Funds. Pursuant to the Purchase Agreement, Escrow Agent
      shall retain an amount equal to $650,000.00 (the “Deposit’) out of the Excess Funds to be paid
      to Seller at Closing, winch amount shall be deposited into a separate escrow account governed by
      this Agreement. The Deposit together with any interest accruing thereon shall be referred to
      herein as the “Cash Funds”. The Escrow Agent agrees to hold and safeguard the Cash Funds, in
      accordance with this Agreement. The Escrow Agent agrees to hold the Cash Funds separate and
      apart from the Escrow Agent’s assets.

                     12     Intentionally Omitted.

                     1.3    Investment of Cash Fund. During the Escrow Period, the Escrow Agent
      will invest the Cash Funds in such Permitted Investments (as defined below) as directed by
      mutual instructions from Alberta and Granite in writing. In the absence of written instructions
      from Alberta and Granite, the Escrow Agent will, at its discretion, invest the Cash Funds as set
      forth in çes iLouii)_beloy. Escrow Agent shall disburse all interest earned on the Cash
      Funds on a monthly basis to Alberta. The term “Permitted Investments” means:

                            (i)    Government Obligations;

                            (ii)    negotiable or non-negotiable certificates of deposit, bankers’
                    acceptances or time deposits maturing within thirty (30) days from the date of
                    acquisition thereof issued by any commercial bank organized under the laws of
                    the United States of America, any state thereof or the District of Columbia, each
                    having assets of not less than One Billion Dollars ($1,000,000,000) or other
                    commercial banks organized under the laws of a foreign country, each having
                    assets of not less than One Billion Dollars ($1,000,000,000);

                         (iii) any fi1nd comprised solely of the investments described in clauses
                    Wand üü or

                            (iv)   any other investments mutually agreed upon by Alberta and
                    Granite.

     The tenn “Government Obligations” means x) direct obligations of the United States of
     America for the payment of which the fill faith and credit of the United States of America is


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      pledged, or (y) obligations issued by a Person controlled or supervised by and acting as an
      instrumentality of the United States of America, the payment of the principal of, premium, if
      any, and the interest on which is frilly guaranteed as a frill faith and credit obligation of the•
      United States of America (including any securities described in (x) or (y) above in this sentence
      issued or held in book-entry form on the books of the Department of Treasury of the United
      States of America), which obligations, in either case, are not subject to redemption prior to
      maturity at less than par by any Person other than the owner.

             2.      Term of Escrow. The term of the Escrow shall commence on the date hereof and
      end on the date on which all Cash Funds have been disbursed.

             3.     General Disbursement Guidelines. The Escrow Agent shall hold the Cash Funds
      in accordance with this Agreement and shall distribute Cash Funds only in accordance with the
      following:

                    3.1    Mutual Instructions. Escrow Holder shall promptly disburse Cash Funds in
      compliance with any written instructions signed by both Granite and Alberta;

                      3.2     Disbursement of Cash Funds and AAD Holdback. Pursuant to the
      Purchase Agreement, upon Alberta’s delivery of the Required Estoppeis to Granite, Granite shall
     instruct Escrow Holder by written notice to Escrow Holder to deliver the Cash Funds to Alberta;
     provided, however, that upon Alberta’s delivery of the Required Estoppels to Granite, if the
     AAD (as defined in Section 10 of the Fifteenth Amendment of the Purchase Agreement) has not
     been delivered to Granite as of the date of Alberta’s delivery of the Required Estoppels, then
     $50,000.00 of the Escrow plus any accrued interest on such amount (the “AAD Hoidhack”)
     shall be retained by Escrow Holder. If Alberta fails to deliver the AAD on or before 5:00 P.M.
     (EDT) on March 1, 2009, Granite and Alberta agree that Escrow Holder shall deliver the AAD
     Holdback to Granite upon written notice to Escrow Holder from Granite and the AAD Holdback
     shall be deemed to have been forfeited by Alberta. If prior to the Closing Date, Seller fails to
     deliver certificates of occupancy (the “Required COs”) for the following spaces in the Building:
     (A) H-los, which is currently occupied by Color Me Mine, (B) B- 250, which is currently
     occupied by American Family, and (C) E-225, which is currently occupied by Children’s Place,
     Seller shall, at its sole cost and expense, continue to use commercially reasonable efforts to
     deliver the Required COs after Closing. If Seller has not delivered the Required COs on or
     before 5:00 P.M. (EDT) on February 12, 2009, Buyer and Seller agree Escrow Holder shall
     deliver $50,000.00 of the Escrow plus any accrued interest on such amount (such amount of the
     Escrow plus any accrued interest, if and when held back pursuant to this Section (3.2) is herein
     referred to as the “CO Holdback”) to Buyer upon written notice to Escrow Holder from Buyer,
     and the amount of the CO Holdback shall be deemed to have been forfeited by Seller. If Alberta
     fails to deliver the Required Estoppels to Granite on or before 5:00 P.M. (EDT) on March 1,
     2009, Granite and Alberta agree Escrow Holder shall deliver the Cash Funds to Granite upon
     written notice to Escrow Holder from Granite and the Cash Funds shall be deemed to have been
     forfeited by Alberta.

                     3.3   Court Order. Escrow Agent shall disburse Cash Funds in accordance with
     the final order, judgment or decree of any court of competent jurisdiction -which may be filed,
     entered or issued.


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                    3.4    First Anniversary of this Agreement. Upon the first (1st) anniversary of
      this Agreement or the first business day thereafter if the first (1st) anniversary is not a business
      day, Escrow Agent shall disburse any remaining Cash Funds in its possession to Granite.

             4.      Nature of Duties.

                     4,1    General Ministerial Nature. The duties of the Escrow Agent hereunder are
     only such as are specifically set forth in this Agreement, such duties being purely ministerial in
     nature, and Escrow Agent shall not become liable in any way or to any person for its compliance
     with its obligations under this Agreement, except for Escrow Agents acts of willful misconduct,
     negligence or knowing breach of this Agreement. In the event of any disagreement between or
     among any of the parties to this Agreement, or between or among them or any of them and any
     other Person, resulting in adverse claims or demands being made in connection with the Cash
     Funds held in the Escrow, or in the event Escrow Agent, in good faith, shall be in doubt as to
     what action it should take hereunder, Escrow Agent may, at its option, refuse to comply with any
     claims or demands on it, or refuse to take any other action hereunder, so long as such
     disagreement continues or such doubt exists, and in any such event, Escrow Agent shall not
     become liable in any way or to any person for its failure or refusal to act, and the Escrow Agent
     shall be entitled to continue so to refrain from acting until it shall have received instructions in
     writing concurred to by Alberta and Granite or until the disposition of such Cash Funds shall be
     directed by a determination of a court of competent jurisdiction, whereupon it shall make
     disposition in accordance with such instructions or such determination. Escrow Agent shall have
     the option, after 30 days’ notice to the other parties of its intention to do so, to file an action in
     interplcader requiring the parties to answer and adjudicate any claims and rights among
     themselves, The rights of Escrow Agent under this Section 4 are cumulative of all other rights
     which it may have by law or otherwise.

                   4.2      No Implied Obligations. Escrow Agent shall neither be responsible for or
     under, nor chargeable with knowledge of, the terms and conditions of any other agreement,
     instrument or document executed between or among the parties hereto, except the Purchase
     Agreement. This Agreement sets forth all of the obligations of Escrow Agent with respect to the
     Escrow, and no additional obligations shall be implied from the terms of this Agreement or any
     other agreement, instrument or document,

                    4.3     Presumed Validitypf Written Notices. Escrow Agent may act in reliance
     upon any instructions, notice, certification, demand, consent, authorization, receipt, power of
     attorney or other writing delivered to it by any party without being required to determine the
     authenticity or validity thereof or the correctness of any fact stated therein, the propriety or
     validity of the service thereof or the jurisdiction of the court issuing any judgment or order.
     Escrow Agent may act in reliance upon any signature believed by it to be genuine and may
     assume that such Person has been properly authorized to do so.

                     4.4     Consultation with Legal Counsel. Escrow Agent may consult with legal
     counsel of its selection in the event of any dispute or question as to the meaning or construction
     of any of the provisions hereof or its duties hereunder and it shall incur no liability and shall be
     fully protected in acting in accordance with the opinion and instructions of any such counsel.




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             5.      Compensation. All customary fees and expenses of Escrow Agent in performing
     its duties and services hereunder shall be borne 50% by Alberta and 50% by Granite. In the
     event Escrow Agent is made a party to litigation with respect to the Cash Funds held hereunder,
     or brings an action in interpleader or if Escrow Agent is required to render any service not
     provided for in this Agreement, Escrow Agent shall be entitled to reasonable compensation for
     such extraordinary services and reimbursement for all actual and reasonable fees, costs, liability
     and expenses, including reasonable attorneys’ fees. Liability for such extraordinary services and
     reimbursement for all fees, costs, liability and expenses, including reasonable and actual
     attorneys’ fees shall be paid by the party requesting such services or causing such services to be
     incurred.

             6.      Termination and Resignation of Escrow Agent. Escrow Agent may be removed
     with or without cause by written notice to Escrow Agent from both Alberta and Granite. Escrow
     Agent may, in its sole discretion, resign and terminate its position hereunder at any time
     following 60 days written notice to Alberta and Granite. Any such resignation shall terminate all
     obligations and duties of Escrow Agent hereunder. On the effective date of such resignation, the
     Escrow Agent shall deliver this Agreement together with the Cash Funds then held by it, and any
     and all related instnnnents or document to any successor Escrow Agent reasonably agreeable to
     Alberta and Granite, subject to this Agreement. If a successor Escrow Agent has not been
     appointed prior to the expiration of 60 days following the date of the notice of such resignation,
     the then acting Escrow Agent may petition any court of competent jurisdiction for the
     appointment of a successor Escrow Agent, or other appropriate relief Any such resulting
     appointment shall be binding upon all of the parties to this Agreement.

             7.       Notices. All notices, requests, demands and other communications hereunder
     shall be in writing and shall be delivered by hand, transmitted by facsimile transmission, sent
     prepaid for next business day delivery by Federal Express (or a comparable overnight delivery
     service), at the addresses and with such copies as designated below.



     If to Alberta:                                      do Alberta Development Partners
                                                         5460 South Quebec Street, Suite 100
                                                         Englewood, Colorado 80111
                                                         Attn, Donald G. Provost
                                                         Facsimile: (303) 771-4086


     and;                                                Gibson, Dunn & Crutcher LLP
                                                         333 South Grand Avenue
                                                         Los Angeles, CA 90071
                                                         Attn: Drew Flowers
                                                         Facsimile; (213) 229-6885




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     If to Granite:                                       do BlackRock Realty Advisors, Inc.
                                                          300 Campus Drive, 3rd Floor
                                                          Florharn Park, New Jersey 07932
                                                          Attn: Christopher Silva
                                                          Facsimile: (646) 521-4965


     and:                                                 BlackRock Realty Advisors, Inc.
                                                          300 Campus Drive, 3rd Floor
                                                          Florham Park, New Jersey 07932
                                                          Attn: Jeremy A. Litt, Esq.
                                                          Facsimile: (646) 521-4998


     and:                                                 Fulbright & Jaworski L.L.P.
                                                          600 Congress Avenue, Suite 2400
                                                          Austin, Texas 78701
                                                          Attn.: Jane S. Smith
                                                          Facsimile: (512) 536-4598
     If to Escrow Agent:                                  Land Title Guarantee Company
                                                          3033 B. 1st Ave., #600
                                                          P0 Box 5440
                                                          Denver, CO 80206
                                                          Attn: Escrow Deparunent
                                                          Facsimile: (303) 399-8193
             Any party hereto may change its address or designate different or other persons or entities
     to receive copies by notifying the other parties and Escrow Agent in a manner described in this
     Section 7. Any notice, request, demand or other communication delivered or sent in the manner
     aforesaid may be given by the party required to give such notice or its attorney, and shall be
     deemed given or made (as the case may be) when actually delivered to or refused by the intended
     recipient.

             8.     Further Assurances. The parties hereto each agree to execute, acknowledge
     and/or deliver such other documents or instruments as may reasonably be requested by any other
     party or by Escrow Agent, in order to effectuate the purposes of this Agreement; provided,
     however, that the foregoing shall not obligate Alberta or Granite to execute, acknowledge or
     deliver any instrument which would or might impose upon such party any additional liability or
     obligation.

             9.      Conflict. In the case of any conflict or inconsistency between the terms of this
     Agreement and the terms of the Purchase Agreement, the terms of the Purchase Agreement shall
     govern and control. Notwithstanding anything in this Agreement to the contrary, in no event
     shall the release of any Cash Funds to Alberta modify, or release Alberta from, any of Alberta’s
     obligations under the Purchase Agreement.


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              10.     Amendment. Any modification of this Agreement or any additional obligations
      assumed by any party hereto shall be binding only if evidenced by a writing signed by each of
      the parties hereto.

              11.    A2mpt. Except as expressly set forth below> neither this Agreement nor any
     right or obligation created hereby may be assigned by any party without the prior written consent
     of the other parties or their successors. Notwithstanding the foregoing to the contrary, Granite
     may, without the prior written consent of Alberta or Escrow Agent, assign its interest in this
     Agreement to any of the following: (a) an entity which is and thereafter remains owned or
     controlled by, is -under common ownership and control with or owns and controls (including
     control under an investment management agreement) Granite or BlackRock Realty Advisors,
     Inc. (“Advisor”), (b) Advisor, (c) a ftnd client of Advisor, (d) a wholly-owned subsidiary of
     Granite, (e) a RE1T in which Advisor is the investment manager, (1) any other entity which is
     any successor to the entities described in sub-clauses (a)      —   (e) above, whether by merger,
     consolidation or the sale of all or substantially all of the assets thereof or otherwise), or (g) any
     purchaser of the Property or any other successor to Granite’s interest in the Property.

             12.     Attorneys’ Fees. The prevailing party in any dispute arising from this Agreement
     shall be entitled to recover from the non-prevailing party its reasonable and actual attorneys’ fees
     and expenses, including any incuned in connection with any appeal.




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      GRANITE SOUTBLANDS TOWN CENTER LLC,
      a Delaware limited liability company

      By:   BlackRoek Granite Property Fund, L.P.,
            a Delaware limited partnership,
            its Sole Member
            By:    BlackRoek Granite Property Fund, LLC,
                   a Delaware limited liability company,
                   its Genera] Partner
                   By:    BlackRock Granite Property Fund, Inc.,
                          a Maryland corporation,
                          its Sole Member
                          By:    BlackRock Realty Advisors, Inc.
                                 a Delaware corporation, its Investment Manager

                                 By:




                                Name:    cz-r c Ljo
                                Its:




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       IN WITNESS WHEREOF, Alberta has executed this Agreement as of the date set forth below,
       to be effective as of the Bifective Date.


                                                ALBERTA:

                                                ALBERTA TOWN CENTER, LLC,
                                                a Colorado liniited liability company

                                                By:________________________
                                                   Peter Cudlip, Mr


                                                Execution Date:_______________________

                                  [Signatures Continue on Next Page]




                          SIGNATURE PAGE TO ESTOPPEL ESCROW AGREEMENT

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      IN WITNESS WHEREOF, Escrow Holder has executed this Agreement as of the date set forth
      below, to be effective as of the Effective Date.


                                                 ESCROW HOLDER:

                                                 La       itle    arantee Company


                                                                                 LEIGH RENFO
                                                 Title:                       gjpNT VICE pRESIOEN


                                                 Execution


                                          [End of Signatures




                                Signature Page to Estoppel Escrow Agreement


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                      -KLM Document     215-26
                                    210-2   Filedfiled 10/03/11
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                            UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF COLORADO


 Civil Action No 09-CV-00799-ZLW-KLM

 GRANITE SOUTHLANDS TOWN CENTER, LLC,

         Plaintiff.

 v.

 ALBERTA TOWN CENTER, LLC and
 LAND TITLE GUARANTEE COMPANY,

         Defendants.

                          AFFIDAVIT OF KIMBERLY A. BRUETSCH

 THE STATE OF COLORADO                          §
                                                §
 COUNTY OF DENVER                               §
         THE AFFIANT states as follows:

         1.      I am a lawyer duly licensed to practice in the State of Colorado and in the United

 States District Court for the District of Colorado. I am over 18 years of age and I am competent

 to testif’ to the matters herein.

         2.      Robinson Waters & ODorisio, P.C. (RWO’) represents Land Title Guarantee

 Company in the above captioned cause. Stephen L. Waters is the senior partner responsible for

 this matter and he assigned primary responsibility for this matter to me. I have been licensed to

 practice in the State of Colorado since 2001. In 2000, I clerked for the Honorable Bobby R

 Baldock on the Tenth Circuit Court of Appeals. I have jury trial, bench trial and arbitration

 experience. Kristi Kellow, a paralegal in our office, also assisted in this matter.
Case1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                      -KLM Document     215-26
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                                                             USDC    Colorado
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          3.     RWO’s fee arrangement with Land Title is to bill on an hourly basis, not on a

  contingent fee or fixed fee basis. The hourly rates billed along with the services performed are

  set forth on the bills attached to the Motion for Attorneys Fees as Exhibit C.

          4.      In my opinion, the hourly charges are reasonable for the preparation and handling

  of this mailer. In addition, it is my opinion that the amount of services performed were also

  reasonable and necessary. In arriving at my opinion, I reviewed the invoices sent to Land Title

  as well as the pleadings filed in this matter.

          5.      1 also considered and relied upon the factors set forth and listed in Colorado Rule

  of Professional Conduct 1.5.

          6.      The costs sought by Land Title were actually billed to and paid by Land Title.

          Further Affiant Sayeth Naught.

          DATED this 27th day of September, 2011.



                                                   Ijimberly A. r1&sch

         Subscribed and sworn to before me this 27th day of September 2011 by Kimberly A.
  Bnietsch.

          Witness my              fficia1 seal.



                                                   Notary Public
                                                   My commission expires: 3/11/12
         Case1:09-cv-00799-SJJ
         Case No. 1:09-cv-00799-SJJ-KLM Document
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                                         Denver, CO  80202
                                           303-297-2600




                                                                  FEDERAL ID:    XX-XXXXXXX

        Peter Griffiths
        Land Title Guarantee Company                        REPORT DATE: 09/27/il
        3033 East 1st Avenue #600                           CLIENT: 00939
        DENVER CO  80206



MATTER:      00939.169 SLW     -    Granite Southlands Town Center

PROFESSIONAL SERVICES RENDERED FROM 04/21/09 THROUGH 12/08/10:
                                                    DATE   HOURS                  RATE   AMOUNT

KAS      Telephone conference with P. Gritfiths               04/29/09    1.50   240.0   360.00
         regarding new federal court matter; review
         file.

KAB      Review e-mail from R. Hammer regarding       04/30/09            0.40   240.0    96.00
         additional information; telephone conference
         with counsel regarding interpleader.

KK       Calendar deadlines regarding scheduling              05/Oi/09    0.40   110.0    44.00
         order.

1<1kB    Telephone conference with E. Starrs and J.           05/04/09    0.50   240.0   120.00
         Dykes regarding Land Titles role in
         litigation.

1<1kB    Review e-mail   from J.     Dykes regarding          05/05/09    0.20   240.0    48.00
         stipulation.

1<1kB    Draft answer.                                        05/06/09    1.00   240.0   240.00

KAB      Review e-mail from J. Dykes regarding                05/07/09    0.20   240.0    48.00
         stipulation; respond to same.

1<1kB    Review answer and counterclaim.                      05/11/09    0.20 240.0      48.00

1<1kB    Review corporate disclosure statement of             05/i3/09    0.20   240.0    48.00
         Granite.

1<1kB    Review Alberta’s corporate disclosure                05/14/09    0.10   240.0        24.00
         statement.

1<1kB    Review corporate disclosure statement.               05/18/09    0.20   240.0        48.00
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
                             -KLM Document 210-3 215-26
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      Land Title Guarantee Company                 REPORT DATE: 09/27/11
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KAB    Revise motion for entry of stipulated order          05/20/09    2.00 240.0     480.00
       and order; review e-mail from E. Starrs
       regarding same.

SLW    Receipt, review and analysis of pleadings;           05/20/09    0.70   325.0   227.50
       conference regarding same.

KAB    Review motion for extension of time to File          05/29/09    0.20 240.0      48.00
       answer to counterclaims.

KAB    Review corporate disclosure statement.               06/01/09    0.20   240.0    48.00

KK     Telephone conference with counsel; draft             06/01/09    0.50   110.0    55.00
       motion to reset scheduling conference; file
       and serve same.

KAB    Review motion to reschedule setting                  06/02/09    0.20   240.0    48.00
       conference; finalize same for filing.

KAB    Review e-mail regarding Rule 26      conference.     06/02/09    0.20 240.0      48.00

KAB    Review order granting continuance of                 06/04/09    0.20   240.0    48.00
       scheduling conference.

KAB    Review e-mails regarding Rule 26 conference;         06/11/09    0.20 240.0      48.00
       respond to same.

KAB    Review answer to complaint.                          06/12/09    0.40   240.0    96.00

KAB    Attend Rule 26 meeting.                              06/15/09    1.00 240.0     240.00

KK     Draft Rule 26 disclosures.                           06/23/09    0.50   110.0        55.00

KAB    Review draft protective order; attend                06/24/09    1.00 240.0     240.00
       conference call regarding scheduling order.

KAB    Review proposed scheduling order;       revise       06/30/09    1.30 240.0     312.00
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
                             -KLM Document 210-3 215-26
                                                    Filedfiled 10/03/11
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                                 -




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       same; draft confidential      settlement
       statement.

KAB    Review e-mails regarding revisions to                07/01/09    0.70 240.0     168.00
       scheduling order; revise same.

KAB    Review and revise Rule 26 disclosures.               07/02/09    0.50   240.0   120.00

KAB    Attend scheduling conference.                        07/06/09    1.00 240.0     240.00

KK     Docket/calendar deadlines regarding                  07/06/09    0.40   110.0    44.00
       scheduling order and court’s minute order.

SLW    Receipt, review and analysis of orders from          07/07/09    0.60   325.0   195.00
       court; conference regarding same.

KAB    Review e-mails regarding protective order;           07/20/09    0.20   240.0    48.00
       send e-mail regarding dismissal of Land
       Title.

KAB    Review documents   for production.                   07/24/09    2.00 240.0     480.00

KAB    Review e-mail regarding protective order and 07/27/09            0.40   240.0    96.00
       draft of same.

KAB    Review e-mails regarding protective order;           08/10/09    0.20 240.0      48.00
       respond to same.

KAB    Telephone conference with B. Vetter                  08/21/09    0.20   240.0    48.00
       regarding extension of time to amend
       pleadings.

KAB    Review order regarding pleading deadlines.           08/24/09    0.10   240.0    24.00

KAB    Review e-mail from E. Hyatt regarding                09/01/09    0.40   240.0        96.00
       conference with magistrate regarding
       protective order; review e-mail from
       Magistrate Mix regarding same.
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
                             -KLM Document 210-3 215-26
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NAB    Telephone conference with E. Hyatt                   09/02/09    1.20 240.0     288.00
       regarding documents; attend conference with
       Magistrate Mix regarding discovery dispute.

KAB    Review minute order from status conference.          09/03/09    0.20   240.0    48.00

NAB    Review amended complaint.                            09/04/09    0.30 240.0      72.00

NAB    Review orders regarding amended complaint.           09/16/09    0.30   240.0    72.00

NAB    Review documents regarding E. Hyatt’s                09/18/09    2.00   240.0   480.00
       request regarding assignment of escrow
       agreement.

NAB    Review draft protective order;      review e-mail    09/21/09    0.40 240.0      96.00
       regarding same.

NAB    Review entry of appearance.                          09/24/09    0.20   240.0    48.00

NAB    Review correspondence from P.      Trahan;   draft   09/25/09    1.40   240.0   336.00
       answer to amended complaint.

NAB    Review e-mail from E.    Hyatt regarding             09/30/09    0.20   240.0    48.00
       amended complaint.

NAB    Review minute order regarding deadlines to           10/02/09    0.20   240.0    48.00
       answer.

NAB    Review motion to withdraw.                           10/07/09    0.20 240.0      48.00

NAB    Review motion to continue settlement                 10/09/09    0.20 240.0      48.00
       conference.

NAB    Review motion to continue settlement                 10/09/09    0.20   240.0    48.00
       conference.

NAB    Review motion to continue settlement                 10/12/09    0.20   240.0    48.00
       conference and e-mails regarding same.
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
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                                                    Filedfiled 10/03/11
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NAB    Review motion to continue settlement                 10/12/09    0.20   240.0    48.00
       conference and e-mails regarding same.

NAB    Draft updated confidential     settlement            10/13/09    1.50 240.0     360.00
       statement per court order.

NAB    Review motion to file under seal; review             10/14/09    0.40 240.0      96.00
       motion to dismiss; review answer to amended
       complaint; review order resetting
       scheduling conference.

SLW    Receipt, review and analysis of motion to            10/15/09    0.80   325.0   260.00
       file documents under seal; receipt, review
       and analysis of Alberta Town Center’s
       answer and counterclaims against plaintiff.

NEC    Review and redaction of documents for                10/16/09    2.50   110.0   275.00
       production to opposing counsel.

SLW    Receipt, review and analysis of defendants’          10/19/09    0.60   325.0   195.00
       motion to dismiss.

NAB    Review order permitting E.      Starrs               10/21/09    0.20   240.0    48.00
       withdrawal.

NAB    Review notice of case association.                   10/23/09    0.20 240.0      48.00

NAB    Review response to motion to dismiss.                11/03/09    0.30   240.0    72.00

NAB    Review e-mails regarding discovery and               11/05/09    0.20 240.0      48.00
       depositions.

NAB    Review motion to reset scheduling order              11/09/09    0.30   240.0        72.00
       deadlines.

NAB    Review first set of written discovery                11/12/09    0.20   240.0    48.00
       reauests.
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
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KAB    Review minute order.                                 11/19/09    0.20 240.0      48.00

KAB    Review correspondence from P.       Trahan           11/20/09    0.20   240.0    48.00
       regarding depositions.

KAB    Review correspondence regarding                      11/24/09    0.20   240.0    48.00
       interpleader and depositions.

KAB    Review correspondence regarding depositions.         11/25/09    0.20 240.0      48.00

SLW    Review of tile regarding issues related to           12/01/09    0.50   325.0   162.50
       interpleading funds; conference regarding
       same.

KAB    Review correspondence regarding depositions.         12/04/09    0.20 240.0      48.00

KAB    Review correspondence regarding depositions.         12/07/09    0.20 240.0      48.00

KAB    Review correspondence regarding depositions.         12/15/09    0.20 240.0      48.00

KAB    Review protective order.                             12/17/09    0.20   240.0    48.00

KK     Draft motion for leave to be excused from            01/12/10    1.00   110.0   110.00
       attending settlement conference; draft
       monetary demand pursuant to court order;
       file and serve same.

KAB    Review and revise monetary demand; review            01/19/10    1.20   240.0   288.00
       and revise motion to be excused from
       settlement conference; telephone conference
       with S. Bennett and B. Vetter regarding
       same.

KAB    Revise confidential    settlement    statement.      01/20/10    0.40 240.0      96.00

KK     Draft updated confidential settlement                01/20/10    0.50   110.0    55.00
       statement; forward to magistrate.
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
                             -KLM Document 210-3 215-26
                                                    Filedfiled 10/03/11
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SLW    Receipt, review and analysis of various              01/20/10    1.20   325.0   390.00
       pleadings including response to discovery
       by Alberta; telephone conference with
       counsel regarding same.

KAB    Review and revise motion to interplead.              04/07/10    0.50   240.0   120.00

KK     Draft stipulated motion to interplead                04/07/10    1.30   110.0   143.00
       funds and forward to opposing counsel.

Kit    Telephone conference with magistrate’s               04/12/10    0.20   110.0    22.00
       clerk regarding settlement conference.

KAB    Review e-mail from R. Hammer regarding               04/21/10    0.40 240.0      96.00
       Granite settlement conference; respond to
       same; review minute order regarding
       settlement.

KAB    Review e-mail from P. Trahan regarding               04/26/10    0.40   240.0    96.00
       interpleader stipulation; draft e-mail to R.
       Hammer regarding escrow balance; review
       response to same.

SLW    Receipt, review and analysis of motion to            04/27/10    0.40   325.0   130.00
       amend complaint.

KAB    Review e-mail from P. Trahan regarding               05/24/10    0.40 240.0      96.00
       revisions to stipulation; respond to same.

KAB    Revise stipulation per P.      Trahan’s comments.    05/25/10    0.50   240.0   120.00

KAB    Conference with P. Trahan regarding account          05/26/10    0.70   240.0   168.00
       balance; conference with P. Griffiths
       regarding same; review documents related
       to same.

SLW    Office conference regarding facts;       review      06/01/10    0.90   325.0   292.50
       Case1:09-cv-00799-SJJ
       Case No. 1:09-cv-00799-SJJ-KLM Document
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       of correspondence;    telephone conference with
       P. Griffiths.

KAB    Draft correspondence to counsel.                     06/04/10    0.70 240.0     168.00

KAB    Telephone conference with P. Trahan                  06/07/10    0.20 240.0      48.00
       regarding e-mails and document requests.

KAB    Left voicemail for P. Trahan regarding               06/08/10    0.30   240.0    72.00
       escrow; review voicemail from P. Trahan
       regarding escrow.

KAB    Review additional documents      for production.     06/10/10    1.00   240.0   240.00

KAB    Review additional documents received for             06/11/10    0.80   240.0   192.00
       production.

KK     Preparation, bate identification and                 06/11/10    1.20   110.0   132.00
       production of documents to opposing
       counsel.

KAB    Review e-mail from P Trahan regarding                06/14/10    0.50   240.0   120.00
       document request; review bills and
       summarize for response.

SLW    Review and analysis of file; conference              06/25/10    1.10   325.0   357.50
       regarding issues related to interpleading
       funds.

KAB    Review order denying motion for leave to             06/28/10    0.20   240.0    48.00
       amend complaint.

SLW    Conference regarding pretrial order and              06/30/10    1.10   325.0   357.50
       related issues; review of file.

SLW    Analysis of issues related to pretrial               07/02/10    0.60   325.0   is.oo
       order; telephone conference with B. Vetters
       regarding same.
       Case1:09-cv-00799-SJJ
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                             -KLM Document 210-3 215-26
                                                    Filedfiled 10/03/11
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SLW    Telephone conference with B. Vetters                 07/06/10    1.40 325.0     455.00
       regarding pretrial order; draft language
       for inclusion in order; conference
       regarding same; receipt, review and
       analysis of pretrial order; review of file
       and analysis.

SLW    Telephone conference with S. Bennett                 07/07/10    0.80 325.0     260.00
       regarding indemnification regarding
       assertion that interest payments were
       improperly made; review of pretrial order
       regarding same.

SLW    Telephone conference with opposing counsel           07/08/10    0.30   325.0    97.50
       regarding interpleading funds.

SLW    Review of escrow agreement; telephone                07/09/10    0.80   325.0   260.00
       conference with P. Griffiths; analysis of
       issues in preparation for pretrial
       conference.

SLW    Attendance at pretrial     conference.               07/12/10    0.80 325.0     260.00

SLW    Receipt, review and analysis of pretrial             07/13/10    0.70   325.0   227.50
       order; draft memorandum to file regarding
       outstanding issues.

KAB    Review final pretrial order.                         07/16/10    0.50 240.0     120.00

ICC    Calendar/docket trial deadlines.                     07/29/10    0.50   110.0        55.00

KAB    Review motion for entry of judgment.                 08/05/10    0.20 240.0      48.00

KAB    Review order regarding motion for expedited          08/09/10    0.20 240.0          48.00
       relief.

KAB    Review notice of appeal.                             10/04/10    0.40   240.0        96.00
       Case1:09-cv-00799-SJJ
      Case  No. 1:09-cv-00799-SJJ-KLM Document
                             -KLM Document 210-3215-26
                                                   Filed filed 10/03/11
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                                      303-297-2600




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KAB    Review correspondence to counsel       regarding      10/15/10    0.50 240.0       120.00
       escrow funds.

KAB    Review correspondence from P.      Trahan.            10/25/10    0.20 240.0        48.00

SLW    Conference regarding trial setting;                   10/25/10    0.80   325.0     260.00
       receipt, review and analysis of mediation
       conference notice; conference regarding
       issues.

KAB    Draft correspondence to counsel regarding             10/26/10    0.40   240.0       96.00
       stipulation.

KAB    Review P.   Trahan revisions to stipulation.          11/03/10    0.20 240.0        48.00

SLW    Receipt, review and analysis of stipulation           11/03/10    0.30   325.0       97.50
       regarding funds; conference regarding same.

KAB    Revise stipulation.                                   11/10/10    0.20 240.0         48.00

KAB    Conference with counsel regarding                     12/02/10    0.50 250.0        125.00
       stipulation; request account balance from
       Land Title and review same.

KAB    Finalize stipulation;     revise same for S.          12/03/10    0.30   250.0       75.00
       Bennett signature.

KAB    Review order to interplead funds;                     12/07/10    0.20 250.0         50.00
       conference with P. Griffiths regarding same.

       PROFESSIONAL SERVICES:                                           64.80           $15616.00

COSTS ADVANCED FROM 04/21/09 THROUGH 12/08/10:
126  LawToolBox.com   calendar/docket
                        -                                    05/04/09                       69.00
101  COPY CHARGES                                            06/02/09      52    0.15        7.80
101  COPY CHARGES                                            06/02/09       8    0.15        1.20
101  COPY CHARGES                                            06/02/09       3    0.15        0.45
        Case1:09-cv-00799-SJJ
       Case  No. 1:09-cv-00799-SJJ-KLM Document
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                                     Denver, CO  80202
                                       303-297-2600




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      Land Title Guarantee Company                 REPORT DATE: 09/27/li
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101    COPY CHARGES                                          10/13/09       42    0.15      6.30
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101    COPY CHARGES                                          11/24/09        6    0.15      0.90
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101    COPY CHARGES                                          01/12/10      164    0.15     24.60
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101    COPY CHARGES                                          06/11/10       29    0.15      4.35
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104    Postage                                               10/20/10                        0.88
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101    COPY CHARGES                                          10/27/10        6   0.15        0.90
101    COPY CHARGES                                          12/07/10       76   0.15       11.40

       TOTAL COSTS ADVANCED:                                                              $528.10

       TOTAL REPORT:                                                                    $16144.10
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                                               of 2 L. Waters
Denver White Collar Criminal Defense Attorney Stephen                              Page 1 of 1


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Stephen L. Waters
Serving the Rocky Mountain States front ofncos in Denver arruT elluride. Cotorado


                                                  Stephen L. Waters


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                                                  8.5. in Business Administration, University of Kansas. 1967
                                                   O University of Missouri Schcoi of Law. 1971




Stephen L. Waters attended Georgetown University prior to entering the University of Kansas School of Business
where he received a Bachelorof Sdence decree in BusinessAdministration. Aftergraduating from the University
of Missouri School of Law in 1971. he served as a Deputy District Attorney in Denver unUl he accepted a position
in the 9th Judicial District as the Chief Trial Deputy and Assistant District Attorney. In this capacity Mr. Waters
tried every felony in the district and was the Deputy in charge of the Aspen office. He eventually accepted a
position as an Assistant United States Attorney for the District of Colorado and remained in that capacity before
he, Pete Robinson and fellow shareholder, John O’Dorisio, formed Robinson Waters and O’Dorisio P.C (“RWO”),

Mr. Waters’ practice is primarily centered in Denver, Colorado and the surrounding counties, but he has had
significant trial experience in most of the western states.

Mr. Waters continues to be actively involved in the federal defense bar and a portion of his practice is dedicated
to white collar criminal defense. He is admitted to the Supreme Court oft he United States, and he is an active
member of the Colorado Trial Lawyer’s Association and the Colorado and Denver Bar Assocrations

Areas of Practice:

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Denver Appeals Attorney I Kimberly A. Bruetsch of 2131
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Kimberly A. Bruetsch
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Kimberly A. Bruetsch earned her Bachelor of Arts in English, cum laude. from Monmouth College in Monmouth,
Illinois: in 1997 and her J,D. from the University of Denver College of Law in 2000, where she graduated Order of
St. Ives and was a member of Ihe Transportation Law Journal. Prior to joining RWO, Kim served as a law clerk
for the Honorable Bobby R, Baldock on Ihe Tenth Circuit Court of Appeals.

Areas of Practice:

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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-ZLW-KLM

   GRANITE SOUTHLANDS TOWN CENTER, LLC,

                         Plaintiff

   v.

   ALBERTA TOWN CENTER, LLC,
   LAND TITLE GUARANTEE COMPANY,

                         Defendants.

             DEFENDANT ALBERTA TOWN CENTER, LLC’S NOTICE OF APPEAL


            Notice is hereby given that Alberta Town Center, LLC, defendant in the above named
   case, hereby appeals to the United States Court of Appeals for the 10th Circuit from the
   “Memorandum and Order” of this Court entered in this action on the 2nd day of September,
   2011 (Docket # 195), the Addendum to the “Memorandum and Order” of this Court entered in
   this action on the 13th day of September, 2011 (Docket # 197), and the “Final Judgment” of this
   Court entered in this action on the 13th day of September, 2011 (Docket # 198).

            DATED: September 30, 2011.

                                               Respectfully submitted,


                                               s/ Stuart N. Bennett
                                               Stuart N. Bennett
                                               JONES & KELLER, P.C.
                                               1999 Broadway, Suite 3150
                                               Denver, CO 80202
                                               Telephone:     (303) 573-1600
                                               Fax:           (303) 573-8133
                                               E-mail:        sbennett@joneskeller.com
                                               Attorneys for Defendants Alberta Town Center,
                                               LLC




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 30, 2011, I electronically filed the foregoing with the
   Clerk of Court using the CM/ECF system which will send notification of such filing to the
   following e-mail addresses:

   Attorneys for         jdykes@fulbright.com        Osborne J. Dykes, III
   Plaintiff &           bvetter@fulbright.com       Benjamin M. Vetter
   Counter                                           Fulbright & Jaworski LLP
   Defendant Granite                                 370 – 17th Street, Suite 2150
   Southlands Town                                   Denver, CO 80202
   Center, LLC
   Attorneys for         ptrahan@fulbright.com       Paul Trahan
   Plaintiff &                                       Fulbright & Jaworski LLP
   Counter                                           600 Congress Avenue, Suite 2400
   Defendant Granite                                 Austin, TX 78701
   Southlands Town
   Center, LLC
   Attorneys for         kbruetsch@rwolaw.com        Kimberly A. Bruetsch
   Defendant Land                                    Robinson, Waters & O’Dorisio PC
   Title Guarantee                                   1099 – 18th Street, 26th Floor
   Company                                           Denver, CO 80202


         And I hereby certify that I have mailed or served the document or paper to the following
   non CM/ECF participants in the manner indicated by the non-participant’s name: NONE

                                                s/ Stuart N. Bennett
                                                Stuart N. Bennett
                                                Attorneys for Defendant Alberta Town Center, LLC
                                                JONES & KELLER, P.C.
                                                1999 Broadway, Suite 3150
                                                Denver, CO 80202
                                                Telephone:     303-573-1600
                                                Fax:           303-573-8133
                                                E-mail:sbennett@joneskeller.com




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